  Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.1 Filed 06/30/22 Page 1 of 89




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

DENISE BONDS, an individual,
and SHENESIA RHODES, an individual,
                                                     Case No:
     Plaintiffs,                                     Hon.
vs.
COMPASS GROUP (“Compass”),
a foreign for-profit corporation, CROTHALL HEALTHCARE,
a foreign for-profit corporation, jointly and severally,
(Collectively Compass/Crothall); and
TENET HEALTHCARE CORPORATION,
a foreign for-profit corporation,
VHS, INC., a foreign for-profit corporation,
VHS OF MICHIGAN, INC, a foreign for-profit
corporation, d/b/a Detroit Medical Center (“DMC”),
VHS HARPER-HUTZEL HOSPITAL, INC.,
a foreign for-profit corporation, jointly and severally,
(Collectively DMC and/or TENET),

     Defendants.

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                   COMPLAINT AND JURY DEMAND
  Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.2 Filed 06/30/22 Page 2 of 89




      NOW COME Plaintiffs DENISE BONDS and SHENESIA RHODES, by

and through their counsel, AZZAM ELDER and NINA KORKIS TAWEEL,

and hereby file their Complaint against Defendants as follows:

                CLAIMS, PARTIES, AND JURISDICTION

   1. This is an action for violations of the law with regard to the retaliatory

      removal and retaliatory actions taken against Plaintiffs in violation of the

      Michigan Medicaid False Claims Act, MCL§ 400.610c; the False Claims

      Act, 31 USC § 3729, 3730; the Whistle Blowers Protection Act MCL 15.361;

      and the public policy of the State of Michigan, for concurrently placing

      Plaintiffs illegally in a false light, wrongful suspensions, wrongful

      discharge, intentional infliction of emotional distress, and racial

      discrimination.

   2. This is also an action for violation of the Michigan Whistleblowers

      Protection Act, MCL 15.361 et. seq., based upon retaliation against

      Plaintiffs because Plaintiffs have complained to OSHA, the Health

      Departments, Infectious Control Officers and Defendants about unsafe,

      unsanitary, and dangerous conditions which put hospital patients, hospital

      visitors, hospital staff, and the public at risk of contracting infections,

      diseases, and illnesses.


                                       2
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.3 Filed 06/30/22 Page 3 of 89




3. In addition, Defendants Crothall and Compass have violated the Bullard-

   Plawecki Employee Right to Know Act, MCL§ 423.501, et. seq., when they

   failed to provide Plaintiffs with their complete personnel records.

4. Plaintiff DENISE BONDS is a resident of the County of Wayne, State of

   Michigan.

5. Plaintiff SHENESIA RHODES is a resident of the County of Macomb,

   State of Michigan.

6. Defendant COMPASS GROUP (“Compass”) is a foreign for-profit

   corporation incorporated in the United Kingdom, with multinational

   operations doing business under numerous names and subsidiaries in the

   United States.

7. Defendant CROTHALL HEALTHCARE (“Crothall”), is a foreign for-profit

   corporation, with its headquarters located at 1500 LIBERTY RIDGE DRIVE

   STE 210 WAYNE, PA 19087 USA. It is a subsidiary of Compass Group, a

   United Kingdom company.

8. Defendant TENET HEALTHCARE CORPORATION, INC., ("Tenet") is

   a foreign for-profit corporation. It is a multi-national, investor-owned

   healthcare services company. As of March 2022, Tenet operated

   approximately sixty-eight (68) hospitals nationally. Tenet does business


                                     3
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.4 Filed 06/30/22 Page 4 of 89




   and has numerous subsidiaries it operates and controls in the State of

   Michigan.

9. VHS OF MICHIGAN, INC., a wholly-owned subsidiary of VHS, Inc., is

   a foreign for-profit corporation and doing business in Detroit, Michigan as

   The Detroit Medical Center ("DMC"), a Michigan corporation with its

   principal place of business in Wayne County Michigan.

10.VHS HARPER-HUTZEL HOSPITAL, INC., a foreign for-profit

   corporation, is part of the DMC, doing business in Michigan as Harper-

   Hutzel Hospital (comprising Harper University Hospital, Hutzel Women's

   Hospital, the CardioVascular Institute and DMC Surgery Hospital).

11.The amount in controversy herein exceeds $75,000.00 and this matter is

   otherwise appropriately before this court.

12.This lawsuit addresses violations of the law that occurred during and after

   Plaintiffs worked for Defendants Compass/Crothall at Harper-Hutzel

   Hospital, which is owned by Defendant VHS Inc., which is a subsidiary

   of Defendant Tenet Healthcare. Plaintiffs Bonds and Rhodes worked as

   housekeepers in environmental services and they are also Union Stewards

   for the Service Employees International Union (SEIU).




                                    4
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.5 Filed 06/30/22 Page 5 of 89




                      FACTUALBACKGROUND

13.Harper-Hutzel Hospital is in the center of the City of Detroit, where the

   entire community relies on services from neighborhoods to everyday

   people who work in the downtown area. If anyone is in the downtown

   vicinity, or near this hospital and has a heart attack, or is about to deliver

   a baby, an ambulance is likely to rush them to Harper-Hutzel Hospital.

14.Defendant Tenet’s subsidiary, VHS, operates multiple hospitals commonly

   known as the “DMC” including Haper-Hutzel Hospital, in the Detroit area

   and features the full range of specialists, such as cardiologists, cardiac

   surgeons,    vascular   surgeons,       pediatric   cardiovascular   surgeons,

   rehabilitation services, baby deliveries (including c-sections), obgyn

   services, and a nursing team that is cross-trained for any emergency or

   elective procedure.

15.Prior to 2019, Sodexo provided the environmental services to DMC

   hospitals.

16.Plaintiffs worked for Sodexo prior to working for Defendants Crothall and

   Compass.

17.Plaintiff Bonds was an awarded employee at Sodexo.

18.Plaintiff Rhodes was an awarded employee at Sodexo.


                                       5
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.6 Filed 06/30/22 Page 6 of 89




19.When Sodexo had the Tenet contract, Plaintiffs never ran out of supplies and

   had enough cleaning supplies, rags, mops, and essentials to properly sanitize

   patient rooms and operating rooms, per the established Sodexo protocols.

20.Under Sodexo, Plaintiffs were expected to use hospital-grade cleaning

   products and separate rags and mops in order to avoid cross contamination of

   areas. For example, the rags used to clean the bathrooms were not used to

   clean patient beds. Operating rooms and discharges got elevated cleaning,

   including terminal cleaning.

21.Today, Defendant Tenet uses Defendant Crothall and/or Compass as

   contractors for environmental services across the country.

22.Around September 2019, Defendant Tenet hired Defendant Crothall to

   take over environmental service operations at the DMC from Sodexo.

23.Sodexo declined to make the extreme cuts being mandated by Defendant

   Tenet.

24.In 2019, Plaintiffs Bonds and Rhodes became full-time employees of

   Defendants Crothall and Compass until their termination in 2022.

25.Prior to being terminated, Plaintiffs Bonds and Rhodes worked in

   “housekeeping” and they were also union stewards.




                                     6
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.7 Filed 06/30/22 Page 7 of 89




26.As union stewards, Bonds and Rhodes had the responsibility of

   protecting/representing other employees from among other things, unethical

   and unsafe practices by Defendant employers.

27. Plaintiffs will demonstrate how Defendant Compass Group and its

   subsidiaries went to extreme measures to make more profits for themselves

   and Tenet Health. Defendant Compass Group has a long history of outrageous

   actions to cut costs in order to make more money. Below are a few examples:




           Horsemeat: Compass and Whitbread find horse DNA in products - BBC News




                        New York City schools cheated
   Compass USA settled for $18 million on its overcharging on school meals in 2016.[51][52]
                               Compass Group - Wikipedia




                                             7
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.8 Filed 06/30/22 Page 8 of 89




28.       The motivation to make more money has no limits with Defendant

      Compass even if it means using “horsemeat” in burgers or lasagna, or

      cheating kids’ programs.

29. In 2019, after assuming the contract at DMC, Defendants Crothall and

      Compass represented to Plaintiffs and other employees that they would

      honor the terms of the Collective Bargaining Agreements (CBA) executed

      by Sodexo and Defendant Tenet/VHS.

30.            In 2019, Defendants Crothall and Compass presented their Code of

      Business Conduct Golden Rules to Plaintiffs and its employees, which

      state:




                            (50) Compass Five Golden Rules - YouTube




                                           8
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.9 Filed 06/30/22 Page 9 of 89




31.Plaintiffs have followed these Golden Rules by reporting violations to

   Defendants in person, by phone, and email.

32.Defendants have violated each one of their above-stated Golden Rules.

33.After Plaintiffs reported the concerns about safety, they were retaliated against

   by Defendants.

34.Defendants worked together to:

                a.     Silence plaintiffs;

                b.     Falsely accuse Plaintiffs;

                c.     Retaliate against Plaintiffs;

                d.     Improperly suspend Plaintiffs;

                e.     Discriminate against Plaintiffs;

                f.     Lie about Plaintiffs;

                g.     Violate safety rules which unnecessarily exposed

                       Plaintiffs to the Covid-19 virus;

                h.     Violate safety rules which put patients, employees, and

                       visitors at higher risk of contracting an illness and/or being

                       in danger;

                i.     Intimidate Plaintiffs to stop raising safety concerns;

                j.     Humiliate Plaintiffs;


                                       9
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.10 Filed 06/30/22 Page 10 of 89




                 k.    Financially hurt Plaintiffs as a means of retaliation; and

                 l.    wrongfully terminate Plaintiffs.

                       Continues its Focus on Profit at the
                          Expense of Care and Safety

 35. Before Covid-19, Defendants began to take extreme measures to cut

    spending. Daily cleaning supplies were no longer available for housekeepers

    to do their jobs properly, and as time passed, things only got worse.

 36.Defendants work together to avoid spending money on supplies and have done

    this across numerous hospital systems.

 37.These cost-cutting measures have been extreme and Defendants have caused

    the hospital to become unsanitary and unsafe.

 38.Defendants intentionally kept the cleaning supplies short to make profits even

    when it meant the hospital became unsanitary and unsafe.

 39.The cleaning protocols changed from best practices with Sodexo to deplorable

    with Crothall/Compass.

 40.Plaintiffs have knowledge about how the cleaning and sanitization priorities

    changed from Sodexo to Crothall/Compass.

 41.Defendants overwhelmed housekeepers with unreasonable expectations and

    required them to do additional work because the nursing staff was also kept

    in short supply.


                                       10
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.11 Filed 06/30/22 Page 11 of 89




 42.For example, under Sodexo, Plaintiffs would use approximately fifty (50) rags

    to clean twenty-eight (28) patient rooms.

 43.Under Defendants, Plaintiffs were given five (5) rags to clean the same 28

    patient rooms.

 44.Mops went from unlimited to supply to not enough to do the job properly.

    Cleaning solutions that were “hospital-grade” were always out.

 45.When Plaintiff Rhodes complained about the lack of supplies, managers

    announced to the staff that overtime would be cut because Plaintiff Rhodes is

    complaining about lack of supplies.

 46.This humiliated Plaintiffs and caused other staff to get upset with Plaintiffs

    for speaking the truth as Defendants blamed them for overtime being cut.

 47.When Plaintiff Bonds was harassed by her manager, she had to call security

    to intervene because of the aggressive intimidation and threats that

    Defendants’ managers used to retaliate.

 48.During Covid, Plaintiffs and other employees were treated like expendable

    furniture. Defendants did not follow Covid-19 rules to keep them safe, and

    they refused to provide Plaintiffs with personal protection equipment (PPE).

 49.Plaintiff Rhodes was unnecessarily exposed to areas of the hospital where her

    chances of contracting Covid-19 were higher because Defendants failed to

    follow the Covid-19 rules designed to keep front line workers and others safe.


                                      11
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.12 Filed 06/30/22 Page 12 of 89




 50.The commonsense approach of trying to stay safe to not contract Covid-19

    was taken away from Plaintiffs by Defendants’ actions and inactions.

 51.Plaintiff Rhodes was exposed to Covid-19 while at work because of

    Defendants’ negligence and indifference to what they consider lower level

    housekeepers.

 52.Early on during the Covid-19 pandemic, Plaintiff Rhodes was given an n95

    mask from a physician, but Defendants took away her n95 mask and told her

    that she is not a doctor or nurse, and that housekeepers should not be wearing

    n95 masks.

 53.As a result of Defendants’ actions, Plaintiff Rhodes and her family ended up

    with Covid-19 prior to vaccines being available to them.

 54.Plaintiff Rhodes contracted Covid-19 three (3) times from work, and

    Defendants refused to pay her while she was out sick, and they also refused

    to pay her earned sick and vacation time.

 55.Other similarly situated employees ended up dying from the coronavirus, or

    sustained permanent disabilities.

 56.One front line hero who ended up in a coma because of Covid-19, who

    recovered but had to use an oxygen tank, tried to come back to work to

    support his family. Defendants Compass/Crothall ended up finding ways to

    terminate this employee and documents were falsified to cover-up the


                                        12
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.13 Filed 06/30/22 Page 13 of 89




    recording requirements.

 57.Defendants violated the rules requiring proper documentation of employees

    who ended up with the coronavirus.

 58.Plaintiffs repeatedly tried to get Defendants to follow the rules and laws, to

    no avail.

 59.Plaintiffs even tried to work through their union leadership to get the attention

    of the CEOs. Below is one example:




                                        13
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.14 Filed 06/30/22 Page 14 of 89




                                    14
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.15 Filed 06/30/22 Page 15 of 89




 60.Defendants worked together and were unwilling to spend money to meet

    minimum requirements, yet they were open to the public for business and

    billed Medicare and Medicaid, carrying on with business as usual.

 61.Defendants worked together to violate OSHA rules relating to “fit tests” and

    falsified documentation regarding same.

 62.Proper PPE was not provided to protect Plaintiffs or other front line workers

    in order to save money – essentially Defendants were only concerned with

    making money over saving lives.

 63.Defendants violated and falsified Certificates of Participation in order to bill

    Medicare and Medicaid.

      TENET HEALTHCARE AND ITS DETROIT SUBSIDARIES

 64.Defendant Tenet owns for-profit hospitals throughout the country.

 65.In 2013, Tenet purchased VHS, Inc., which owned DMC Harper-Hutzel

    Hospital.

 66.DMC, as a non-profit, was basically sold for free to Tenet in exchange for a

    promise to spend $850 million on infrastructure improvements and to improve

    the quality of care at the hospitals in Detroit, Michigan.

 67.Tenet has breached its end of the bargain and Michigan leadership has failed

    to hold them accountable.




                                       15
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.16 Filed 06/30/22 Page 16 of 89




 68.Michigan residents who rely on hospital care have been unnecessarily

    exposed to the unsafe conditions created by corporate greed, and front-line

    heroes have been hurt and retaliated against by Tenet.

 69.Defendant Tenet has been taking millions of dollars out of Detroit and

    laughing all the way to the bank. This money is spent on other Tenet projects,

    or just lines the pockets of its executives.

 70.On June 29, 2021, the United States Congress sent a letter to the Chief

    Executive Officer of Tenet to investigate the abuses committed by Tenet’s

    leadership, which includes:

           a. Tenet’s top executives profited greatly from the Covid-19 public
              health emergency. In Fiscal Year 2020, Tenet posted an annual
              profit of more than $3.1 billion, even after completing a $1.1 billion
              acquisition of 45 ambulatory surgery centers, leading to a five-fold
              increase in Tenet’s share price.

           b. The CEO of Tenet received almost $16.7 million in total
              compensation, and he bragged about donating three (3) months of
              his funds to help Tenet employees, which appears to be little more
              than a gesture because his donations allegedly totaled only
              $360,000.00.

           c. Congress stressed that the apparent greed of Tenet Healthcare
              during an unprecedented public health emergency economic crisis
              is astounding, particularly in light of the billions in taxpayer
              assistance received by Defendant Tenet.

               2021.06.29 Letter to Tenet Healthcare re MA Nurses Strike and COVID Profits.pdf
               (senate.gov)




                                           16
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.17 Filed 06/30/22 Page 17 of 89




 71.The Legacy DMC Monitoring Board was set up in 2011 to ensure Tenet

    complied with its promises to invest in the DMC. The Legacy DMC Board

    struggled and was unable to enforce any Tenet breaches because they had no

    tools to hold Tenet accountable. Tenet ignored repeated concerns about

    patient safety concerns raised by the Legacy DMC Board.




 72.Much of the money that Defendants Tenet/DMC receive comes from state

    and federal Medicare and Medicaid funds. Those funds are regulated

    pursuant to state and federal law. Medicare and Medicaid fraud is a crime.




                                     17
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.18 Filed 06/30/22 Page 18 of 89




 73.The American criminal justice system, unlike charges that are routinely

    brought against individual doctors or pharmacists in the health system, treats

    large corporations like Tenet differently.

 74.Law enforcement allows corporations to become repeat habitual offenders,

    which emboldens them to perpetuate such behavior.

 75.Tenet has a history of violating the law in order to enrich the company, its

    owners and Tenet hospitals.

 76.Tenet’s motives and actions of unethical behavior of “cheating” and

    paying fines every few years is a way that they make millions.

 77.In 2006, Tenet agreed to pay the Department of Justice ("DOJ'') $725

    million to settle allegations of illegal Medicare payments to Tenet

    hospitals and entered into a 5-year corporate integrity agreement that

    required the company to provide financial reports to the government.

 78.In 2012, Tenet agreed to pay $42.75 million to resolve allegations that it

    violated the False Claims Act by overbilling Medicare.

 79.In September 2016, Tenet entered into a "Settlement Agreement" and

    Non-Prosecution Agreement ("NPA") with the United States and certain

    states. It agreed to pay a $514 million dollar fine for engaging in healthcare

    fraud by making false claims for public funds under a kickback scheme


                                       18
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.19 Filed 06/30/22 Page 19 of 89




    relating to certain alleged medical services.

 80.In addition, in January 2017, the DOJ indicted the Tenet Healthcare Senior

    VP of Operations, John Holland, on four (4) counts of fraud. The

    indictment states that Holland and others were part of a larger scheme to

    "unlawfully enrich themselves, Tenet, and the Tenet Hospitals" by

    engaging in fraud. Specifically, it was alleged that Mr. Holland

    sidestepped Tenet's internal accounting controls to bribe clinicians and

    pay illegal kickbacks to clinics in Georgia and South Carolina that referred

    pregnant patients on Medicaid to Tenet hospitals. The scheme allegedly

    helped Tenet bill Medicaid programs for more than $400 million.

 81.In September 2017, several more charges were brought against Mr.

    Holland. The latest indictment charged Holland with conspiracy to violate

    the federal Anti-Kickback Statute, wire fraud and falsification of books

    and records.

 82.As part of the various agreements Tenet has entered into with the U.S.

    government, they are required to "self-report" any violations of law or

    regulations and any questionable conduct. Senior management,

    including these executive Defendants, have failed to do so and have

    blatantly allowed legal violations to occur in order to generate more


                                      19
    Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.20 Filed 06/30/22 Page 20 of 89




          income by cutting medically necessary support and services and allowing

          unnecessary medical procedures, among other things.

      83.Tenet has been very clear that its sole goal is to make a profit, as stated

          publicly by Tenet CEO Ron Rittenmeyer:

                  "We're in the business to make a profit - number 1 ... That's our job,
                  so we're always going to be looking to reduce costs. That's just the
                  facts."1

      84.In March of 2019, Tenet CEO Rittenmeyer announced the following :




                       Tenet in exclusive talks over potential Conifer deal | Modern Healthcare

      85.Defendants Compass/Crothall and Tenet are a match made in hell, and

          they have been working together for many years:




1
    Tenet Healthcare Plans to Outsource 1,000+ Positions to Cut Costs (revcycleintelligence.com)

                                                     20
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.21 Filed 06/30/22 Page 21 of 89




 86.Plaintiffs will demonstrate how Defendants worked together to cut essential

    spending, which resulted in unsafe conditions at the hospitals.

 87.While Defendants refused to pay for basic supplies to keep the hospital safe

    and clean, evidence will show how Defendants’ leadership enriched

    themselves at the expense of their patients, the general public and employees.




 88.Defendant Tenet is a for-profit company.

 89.Defendant Tenet’s primary mission is to make money for its shareholders.

    That is not controversial but for the fact that they make money at the

    expense of patient and public safety, which is against the law.




                                       21
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.22 Filed 06/30/22 Page 22 of 89




                  TENET HIRES CROTHALL/COMPASS

 90.      Around September 2019, Defendant Tenet hired Defendant Crothall

    to take over Environmental Service operations at DMC from Sodexo.

 91.Defendant Tenet hired Defendants Compass/Crothall to implement cost-

    savings, which resulted in abusive tactics causing unsanitary hospital

    conditions.

 92.Defendants conspired to work together to squeeze every penny out of the

    DMC/Detroit community to send the profits to their corporate

    headquarters.

 93.Defendants have set up five star and beautiful websites to give the

    impression that they are compliant with laws and safety regulations. This

    is a sham.

 94.      Defendants have set up websites and hotlines for compliance, which

    are also a sham.

 95.      Contrary to their websites and written policies, Defendants have a

    reputation, history, and modus operandi of terminating employees and

    contractors who dare to speak up about safety concerns.

 96.      They also have a history of putting together sham employee reviews

    to justify terminations of good employees.


                                    22
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.23 Filed 06/30/22 Page 23 of 89




          Plaintiffs Report Violations of the Law Which Compromised
                        Patient Safety and Employee safety

 97.Throughout the course of their relationships with Defendants, Plaintiffs

    reported multiple, significant violations of the law at Harper Hutzel

    Hospital to Defendants Tenet, Tenet ethics & compliance, DMC

    leadership, and Defendant Tenet executives and management.

 98.Plaintiffs would report issues and violations in person, by email, by phone,

    and even by text. Here is one example relating to lack of supplies and the

    photos below were taken on multiple days:




                                     23
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.24 Filed 06/30/22 Page 24 of 89




 99.On several occasions, there were no rags or mops to use for cleaning and

    Plaintiffs were told to use “Brawny” paper towel to clean and sanitize.




 100.     It was very common to be out of mandated hospital-grade cleaning

    solutions, rags, mops, and other essential supplies.

 101.     Throughout the course of their relationships with Defendants,

    Plaintiffs reported multiple, significant violations of law at Harper Hutzel

    hospital to Defendants Compass, Crothall, Compass leadership and

    Crothall leadership. Plaintiffs refused to acquiesce in these violations.

 102.     Throughout the course of their relationships with Defendants,

    Plaintiffs reported multiple, significant violations of the law at Harper

    Hutzel hospital to the Michigan Occupational Safety and Health

    Administration, Tenet Ethics & Compliance, Crothall Health and Safety

                                       24
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.25 Filed 06/30/22 Page 25 of 89




    Committee, Convercent, Tenet, Tenet compliance, DMC leadership, and

    Defendant Tenet executives and management. Plaintiffs refused to

    acquiesce in these violations.

 103.     Plaintiffs reported concerns about operating rooms being unsanitary

    and Defendants prioritized saving money to the point that it created an unsafe

    hazard at the hospital.

 104.     Plaintiffs reported that blood and urine were not properly sanitized due

    to the extreme cost-cutting measures mandated by Defendants. Here is one

    example of an operating room where newborn babies are delivered by c-

    section, which has not been properly sanitized since Tenet awarded the work

    to Compass/Crothall in 2019. It is outrageous that Defendants knowingly

    allow c-sections to be performed in unsanitary operating rooms. Defendants

    bill millions of dollars to Medicare and Medicaid and violate the trust of all

    of their patients when they keep doing business this way. Even after they have

    been given so many chances to fix the problems in their Detroit hospitals, they

    continue to get away with it. It is clear that these Wall Street outside investors

    do not care about this community—they only want the money:




                                        25
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.26 Filed 06/30/22 Page 26 of 89




 105.     Photos taken on separate dates in late 2021 and this year (2022) show

    that the mandatory terminal cleaning was not being conducted as required in

    the operating rooms, causing babies and mothers to be subjected to unsanitary

    conditions created by Defendants who bill Medicaid and Medicare as if they

    are operating a clean and safe hospital.




                                       26
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.27 Filed 06/30/22 Page 27 of 89




 106.     Plaintiffs complained to Defendants repeatedly about the safety issues

    and Defendants either ignored them or just gave excuses.

 107.     The lack of supplies to clean patient rooms and operating rooms was

    shockingly outrageous, and in some instances, possibly criminal.

 108.     Since the Plaintiffs have been terminated from their employment,

    evidence will show that Defendants are now scrambling to try and cover-up

    these systemic violations caused by corporate greed. Defendants are working

    together to falsify facts on the ground.

 109.     Defendants’ CEOs and/or upper level management are working hard to

    cover-up this outrageous situation. As of last week, they are conducting site

    visits and conferring together to cover-up issues about which Plaintiffs

                                        27
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.28 Filed 06/30/22 Page 28 of 89




    complained.

 110.     Prior to being terminated, Plaintiffs began to take their concerns up the

    management chain and to OSHA.

 111.     Plaintiffs filed complaints with OSHA about the lack of supplies.

    Below             are             two              such             examples:




                                      28
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.29 Filed 06/30/22 Page 29 of 89




 112.     Plaintiffs   filed   complaints   with   OSHA   about   Defendants

    Compass/Crothall not providing PPE n95 masks to front line employees:




                                      29
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.30 Filed 06/30/22 Page 30 of 89




 113.        As a result of Plaintiffs’ complaints to OSHA, Defendants

    Crothall/Compass were recently fined by OSHA.

 114.        The fine upset Defendants and the retaliation and mission to terminate

    Plaintiffs became Defendants’ main focus.

 115.        Sadly, Defendants paid the fine and continued business as usual.

 116.        Plaintiffs reported pesticide problems to Defendants and asked that they

    provide proper solutions, but instead Defendants retaliated against Plaintiffs

    with false accusations - they accused Plaintiffs of not cleaning their assigned

    areas.

 117.        Defendants have cut all pesticide services and problems with pesticides

    have been reported by numerous employees, some of whom have also been

    retaliated against and fired.

 118.        Defendants conspired and worked together to implement the extreme

    cost-cutting measures and anyone who dared to speak out about legitimate

    concerns was subject to retaliation, including Plaintiffs.

 119.        Instead of complying with the law, Defendant Tenet would rather pay

    fines and settlements as their cost of doing business.

 120.        For several years, the Detroit community has had to endure lies

    from Tenet DMC about how safety is their number one concern. The


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Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.31 Filed 06/30/22 Page 31 of 89




    reality is that they are habitual violators of the law and have breached

    their responsibility to run sanitary hospitals in Michigan.

 121.     For years, Defendant Tenet has put on a show like they are fixing the

    problems, but in reality, they do nothing to fix the safety problems and

    refuse to spend money on Detroit, opting instead to send it to Dallas.

 122.     A CMS certificate of participation requires hospitals to represent that

    their hospitals meet all safety and sanitary requirements in order to bill

    Medicare.

 123.     State Medicaid requires a certificate of participation that the hospitals

    meet safety and sanitary requirements in order to bill Medicaid and Medicare.

 124.     Defendants' improper and fraudulent conduct at the DMC Harper

    Hutzel reported by Plaintiffs, includes, but is not limited to:

             a. Operating and billing Medicare and Medicaid for
                procedures knowing that the surgical equipment, operating
                rooms, and patient rooms were not sterile as required as part
                of the Certification of Participation;
             b. Knowingly putting patients, employees, and visitors at risk of
                contracting life-threatening diseases;
             c. Knowingly submitting claims for payments to CMS and the
                State of Michigan that were false and/or fraudulent;
             d. Knowingly violating safety rules for hospitals, including among
                others, OSHA, CDC, CMS, fire hazards, and more;
             e. Knowingly falsifying employee training records and
                tests/certifications;
             f. Violating Covid-19 protocols;

                                       31
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.32 Filed 06/30/22 Page 32 of 89




             g. Falsifying Certification requirements to bill Medicare and
                Medicaid;
             h. Falsifying safety pledges;
             i. Knowingly operating a hospital without enough supplies to meet
                safety standards and rules; and
             j. Knowingly operating a hospital without proper working equipment
                to meet safety standards and rules.

 125.     Defendants Tenet/VHS have breached the promise to invest in the

    DMC system as required when they purchased the hospital system for free in

    exchange for a promise to upgrade the infrastructure, and improve the quality

    of healthcare.

 126.     Local leadership and regulatory agencies have given a pass to the DMC

    because they view it as too big to fail. In reality, Defendant Tenet is sucking

    out all of the money and profits and either ignores or manipulates all of the

    regulators.

 127.     A quick review of history from local news makes this point. In 2018,

    Harper Hospital was cited for safety concerns:




                                       32
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.33 Filed 06/30/22 Page 33 of 89




 128.     In this case, Plaintiffs will demonstrate that the conditions cited above

    have continued and in some areas, have gotten worse.

 129.     When LARA (the State of Michigan regulation department), JHACO,

    OSHA, or other inspectors visited Harper Hutzel Hospital, Defendants

    worked together to ensure the problem areas in the hospital were not disclosed

    to inspectors. Housekeeping staff were instructed to help put on a show of

    compliance when in reality, inspectors were kept away from areas that would


                                      33
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.34 Filed 06/30/22 Page 34 of 89




    reveal problems.

 130.     Leaks are a constant problem in operating rooms and patient areas

    because Tenet fails to honor its commitment to spend enough money to

    improve the hospital infrastructure pursuant to their purchase obligations:




                                       34
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.35 Filed 06/30/22 Page 35 of 89




 131.     Defendants have a history of using retaliation to silence good doctors,

    good nurses, good housekeepers, and good employees who speak up when

    safety issues need to be fixed.

 132.     In 2019, Tenet lost a trial and was required to pay over $11 million

    dollars to heart doctors who worked at this same hospital (in this case Harper

    Hutzel), and these doctors raised concerns about patient safety and reckless

    cost-cutting, which impacted patient safety:




                                      35
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.36 Filed 06/30/22 Page 36 of 89




 133.     In 2020, during the Covid 19 pandemic, while Defendants gave lip

    service to frontline heroes, they knowingly failed to spend money to follow

    Covid-19 protocols to protect nurses, doctors, and patients:




                                      36
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.37 Filed 06/30/22 Page 37 of 89




 134.     Even a few weeks ago, another reputable physicain was retaliated

    against and fired because he raised safety concerns about Defendant Tenet’s

    motives in jeopardizing safety concerns:




 135.     On May 15, 2022, the Detroit News reported that DMC hospital is at

    risk for violating federal standards:




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Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.38 Filed 06/30/22 Page 38 of 89




 136.     On May 18, 2022, the Detroit News reported a DMC hospital possibly

    losing eligibility for Medicare and loss of participation in Medicaid due to a

    years-long history of safety problems identified in the regional health care

    system:




                                      38
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.39 Filed 06/30/22 Page 39 of 89




 130.     Defendants have a long history of being underhanded in making profits

 and paying fines along the way. This is how Defendants do business. The fines

 appear large, but they pale in comparison to the profits they make. It is obvious

 that the fines have not deterred their abhorrent behavior:

          a.       Tenet has been given numerous chances and has signed

          numerous Non-Prosecutorial Agreements, which have not stopped the

          greed:




          b.       Tenet and its subsidiaries are not hesitant to violate rules to make

          profits and the history below shows some of the admissions of cheating

          by Defendant Tenet and its subsidiaries:




                                         39
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.40 Filed 06/30/22 Page 40 of 89




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Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.41 Filed 06/30/22 Page 41 of 89




          c.    Violations and admissions of cheating by Defendant Crothall

          highlights Employment Discrimination and OSHA violations:




                                    41
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.42 Filed 06/30/22 Page 42 of 89




          d.    Violations and admissions of cheating by Defendant

          Compass Group below:




                                    42
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.43 Filed 06/30/22 Page 43 of 89




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Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.44 Filed 06/30/22 Page 44 of 89




 137.     Across the county, these Defendants are creating dangerous

    conditions in hospitals by failing to spend money on essential supplies

    even though Defendants have had record breaking profits.

 138.     Unions across the country have raised safety concerns regarding

    Defendants intentionally not buying adequate supplies to clean the

    hospitals adequately:

                a. In Michigan, the SEIU union has complained about

                Defendants not providing patients with a safe and clean

                environment:




                                    44
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.45 Filed 06/30/22 Page 45 of 89




                b. In California, the National Union for Healthcare Workers

                raised the alarm about Defendants intentionally not providing

                adequate supplies to keep the hospital sanitary:




                                    45
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.46 Filed 06/30/22 Page 46 of 89




               Defendants Retaliate Against and Terminate Plaintiffs

 139.     Around January 2020, Defendants sought more aggressive ways to

    force Plaintiffs to release their claims, or if necessary, to terminate them

    from their employment in retaliation for the actions described above.

 140.     Plaintiffs have made numerous complaints about patient safety

    concerns and violations of laws and safety rules.

 141.     Plaintiffs tried to work through local management and when the

    concerns were ignored, they kept trying to find someone who would listen.

 142.     Plaintiffs would routinely share common sense information with the

    managers of Defendants.

                                      46
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.47 Filed 06/30/22 Page 47 of 89




 143.     Defendants’ managers would consistently tell Plaintiffs to stop

    complaining, or they would lose their jobs. Defendants’ managers made it

    clear that they did not care about patient safety concerns.

 144.     If any concern required spending money, Defendants would eventually

    retaliate against Plaintiffs because they spoke up.

 145.     On April 27, 2022, Plaintiff Rhodes sent an email to Tenet and

    Crothall/Compass leadership:

          I Shenesia Rhodes had the privilege of working as a contracted
          employee inside of DMC hospitals Sporadically since 2000. I've been
          a Stellar Employee everyone that crosses my path knows of my deep
          integrity and compassion for DMC to expand with Success,

          but unfortunately my complaints about patient safety issues have fallen
          on deaf ears and I find myself being targeted and retaliated against.

          My repeated complaints are intentionally being ignored and dismissed
          and this is very troubling to say the least. Especially since I am
          following protocols by bring complaints to leadership and compliance
          and things keep getting worse. Environmental services is a critical part
          of any health system. We are the front line employees who are trusted
          to sterilize and keep the hospital clean for patient and employee safety.
          DMC and Tenet leadership has had a bad history of having a very bad
          sanitary environment even though this problem has been around for too
          long its never fixed and you only cover it up every time a news story
          surfaces. Crothall who I work for has made it clear that patient safety is
          not anyone’s priority and only costs reductions and profits rule their
          decisions and that’s why they get the business from Tenet.

          My complaints are well documented and you have them and are aware
          of them. I feel like the retaliation against me and other employees who
          speak     up       is    getting      to    be    to    very    hostile.


                                       47
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.48 Filed 06/30/22 Page 48 of 89




          I've witness and engaged in conversations with patients and staff about
          the fatalities because lack of medical / cleaning supplies .I've requested
          by email or phone calls and informed my administrators and DmC
          Corporate. I've called compliance officers , made Tenet Reports on
          these severe infractions... No one has improved these issues...I've been
          Afflicted                 with                 COVID                    19
          three times while being forced to go inside rooms that had no signs of
          COVID or PUI posted from Tenet without a fit test or n95 or any PPE
          from Crothall Compass to protect me or my child that I exposed to the
          virus        by       bringing      it       home        each        time.

          The more I reported my Valid concerns the more retaliation of bullying
          with several Suspensions and inappropriate threats with intimidating
          managers telling me to Leave the Company or Shut Up complaining
          about         Not         having          Cleaning           Supplies.

          I believe that this is allowed to happen because DMC is in Detroit and
          mainly treats vulnerable patient population mainly black and elderly. I
          don’t believe this happens in Dallas. How can leadership sit back
          knowing that there are not enough sterilization supplies to clean patient
          rooms and operating rooms. Blood and human remains are cleaned with
          unclean reusable supplies because supplies are always out of stock or
          rationed. You have patients being operated on in ORs trusting that they
          are sterilized and clean when they are not. You have mothers giving
          birth to new born babies trusting that the ORs are sterilized and clean
          but                     they                  are                   not.

          Ive been stressed and mental exhaustion with the amount of harsh
          pressure and harassment I am continuously under by Crothall
          leadership.. I've sacrifice a tremendous part of my Life to provide a
          Protective Safe Environment for Employees and most of all the Patients
          of DmC Tenent and Crothall Compass Group Healthcare. If you take
          patient’s money and bill medicare and Medicaid for services then the
          ORs and hospital rooms must be sterile and clean if they knew that the
          ORs and rooms were filled with disgusting conditions they would never
          pay. You have known that they are not clean and you know that this
          unsafe condition has caused harm to so many and yet you do nothing to
          fix it. The retaliation for speaking up has caused my family and I to
          have a financial debt, Severe Cardiac and Mental Health Problems and
          my daughter to have a incurable Disease Forever. Because of the

                                       48
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.49 Filed 06/30/22 Page 49 of 89




          profound negligence of ignoring my Plea for Equality to be treated like
          you would treat your own loved one's. Instead of retaliating against me,
          I believe you should be calling me to learn more about the dangers your
          leadership has allowed to fester in the hospital. If you don’t take my
          complaints seriously the contamination of bacteria’s, viruses, and
          diseases will continue to infect the population outside the hospitals and
          the public will never know why. That’s why I am pleading with you to
          listen instead of harassing and retaliating against me. Please take my
          complaints seriously it should not be just about money if you want to
          be in health care then patient safety should always be the number one
          priority.

 146.     Plaintiff Bonds has endured multiple false accusations from

    Defendants, some of which were reversed. After the false accusations were

    reported to Tenet and the National Labor Relations Board, the manger

    voluntarily voided the suspensions. However, when she began to send

    complaints to the hospital’s management and to Compass mangers at

    headquarters, the retaliation became unstoppable, which lead to her wrongful

    termination.

 147.     In addition to multiple other complaints made, below is yet another

    example where Plaintiff Bonds did her best to get the attention of Tenet

    managers to try and get them to stop violating basic rules and keep the hospital

    safe and sanitary:




                                       49
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.50 Filed 06/30/22 Page 50 of 89




 148.     Later, in May 2022, both Plaintiffs were abruptly terminated. As of

    that time, and throughout their employment with the Defendants, Plaintiffs

    had excellent reputations at the hospital.

             Defendants Retaliate Against Plaintiffs & Pressure Other
                         Employees to Help Cover Up

 149.     Based on Plaintiffs' ongoing complaints about fraud and safety

    while still employed, and because they refused to stay quiet about safety

    concerns, Defendants became obsessed with terminating Plaintiffs.

 150.     Defendants used tactics to paint Plaintiffs in a false light.

                                      50
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.51 Filed 06/30/22 Page 51 of 89




 151.     Since Plaintiffs’ termination, Defendants are manipulating other

    employees and threatening their jobs if they do not back-date certain

    documents. When Plaintiffs wrote concerns about being out of some

    supplies, Defendants retaliated by suspending Plaintiffs.

 152.     Defendants have recently brought in microfiber mops after

    terminating Plaintiffs. This is part of the cover-up because they know that

    investigations are coming.

 153.     Defendants are currently asking employees to falsify certifications

    and other documents about supplies, training, past training, and other

    documents in anticipation of inspections and/or lawsuits.

                 Candida Auris fungus a Serious Global Health Threat

 154.     Prior to Plaintiffs being terminated from their employment, they

    expressed concerns to Defendants; management that they heard that DMC

    Sinai Grace was dealing with the Candida Auris fungus.

 155.     Plaintiffs expressed concerns about the dangers being created by the

    outrageous cuts in supplies that were made by upper level managers. These

    reckless actions likely increase the chances of this new danger, Candida auris,

    to survive and thrive in an unsanitary hospital like Harper Hutzel. Plaintiffs

    were retaliated against for raising these concerns.


                                       51
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.52 Filed 06/30/22 Page 52 of 89




 156.     According to the CDC, Candida Auris is an emerging fungus that

    presents a serious global health threat. Candida auris | Candida auris | Fungal

    Diseases | CDC

 157.     As of this week, Plaintiffs as union stewards, have been getting calls

    from current employees of Defendant Crothall/Compass who are concerned

    because the DMC nursing staff has stated that Candida auris is now being

    detected at Harper Hutzel Hospital, but none of the Defendants have notified

    the employees, patients, or visitors who will be exposed to this new danger.

 158.     Candida auris typically spreads in hospitals and other care facilities

    through contact with contaminated surfaces or equipment. However, it can

    also spread from person to person. People with Candida may shed the fungus

    through their skin cells. To limit the spread of C. auris, cleaning, hygiene,

    and sanitation are crucial.

          Candida auris: Symptoms, spread, and outbreak risk (medicalnewstoday.com)

                           REFUSAL TO TURN OVER
                            PERSONNEL RECORDS

 159.     Shortly after being terminated, Plaintiffs contacted Defendants

    Crothall and Compass and requested their personnel records pursuant to

    the Bullard-Plawecki Employee Right to Know Act, MCL § 423.501, et.

    seq., in order to obtain their complete personnel records, and any

                                        52
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.53 Filed 06/30/22 Page 53 of 89




    "complaints" and/or "investigations."

 160.     MCL §423.510 defines "personnel record" as "a record kept by the

    employer that identifies the employee, to the extent that the record is used

    or has been used, or may affect or be used relative to that employee's

    qualifications   for   employment,       promotion,   transfer,   additional

    compensation, or disciplinary action."

 161.     Defendants refused Plaintiffs’ request.

 162.     Plaintiffs were forced to file this lawsuit to obtain their personnel

    records pursuant to MCL § 423.501, et. seq. Desperate to keep the

    "investigation" away from them, Defendants sought and continue to seek

    to make false public statements about Plaintiffs with regard to an

    "investigation" and "violations" while refusing to hand over any evidence

    thereof.

 163.     Defendants have also refused to turn over their investigation into

    Plaintiffs’ complaints about safety violations, lack of supplies, fraudulent

    documentation, false documentation, false training, violations of OSHA

    rules, violation of CMS rules, violations of CDC rules, and other

    violations.




                                     53
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.54 Filed 06/30/22 Page 54 of 89




 164.     For all the foregoing reasons, Plaintiffs demand judgment against

    Defendants jointly and severally as follows:

    A.    LEGAL RELIEF
          1. Economic, noneconomic and compensatory damages in
             whatever amount they are found to be entitled;

          2.    Exemplary damages in whatever amount they are found to be
                entitled;

          3.    Punitive damages in whatever amount they are found to be
                entitled;

          4.    Statutory damages, and common law damages;

          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;




                                     54
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.55 Filed 06/30/22 Page 55 of 89




          13.    The damages available include compensation for psychological
                 injuries such as humiliation, embarrassment, outrage,
                 disappointment, and mental anguish that have resulted from the
                 discrimination.

    B.    EQUITABLE RELIEF

          1.     An order from this Court placing Plaintiffs in the position they
                 would have been in had there been no wrongdoing by
                 Defendants, including reinstatement with back pay;

          2.     An injunction out of this Court prohibiting any further acts of
                 wrongdoing by Defendants;

          3.     An Order requiring Defendants to immediately produce
                 Plaintiffs’ personnel records;

          4.     An award of interest, costs and reasonable attorney fees; and

          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                                 COUNT I
                VIOLATION OF THE MICHIGAN MEDICAID FALSE
                        CLAIMS ACT, MCL § 400.610c

 165.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 166.     The Michigan Medicaid False Claims Act ("Michigan Medicaid

    FCA") is an act "to prohibit fraud in the obtaining of benefits or payments

    in connection with the medical assistance program; to prohibit kickbacks

    or bribes in connection with the program; to prohibit conspiracies in

    obtaining benefits or payments; ... to provide for civil actions to recover

                                      55
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.56 Filed 06/30/22 Page 56 of 89




    money received by reason of fraudulent conduct; ... to prohibit retaliation;

    to provide for certain civil fines; and to prescribe remedies and penalties."

    Michigan Medicaid False Claim Act 72 of 1977.

 167.     Additionally, "[a]n employer shall not discharge, demote, suspend,

    threaten, harass, or in any other manner, discriminate against an employee

    in the terms and conditions of employment because the employee engaged

    in lawful acts, including initiating, assisting in, or participating in the

    furtherance of an action under this act or because the employee cooperates

    with or assists in an investigation under this act." MCL § 400.610c.

 168.     An employer who violates this section is liable to the employee for

    all of the following:

             (a) Reinstatement to the employee's position without loss of
                 seniority;

             (b) Two times the amount of lost back pay;

             (c) Interest on the back pay;

             (d) Compensation for any special damages; and

             (e) Any other relief necessary to make the employee whole. MCL
                 § 400.610c(2).

 169.     As employees, Plaintiffs took lawful acts in furtherance of an action

    under the Michigan Medicaid FCA.



                                      56
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.57 Filed 06/30/22 Page 57 of 89




   170.      Defendants acted in concert with one another and with others,

      specifically but not limited to various corporate officers both at

      Crothall/Compass and Tenet/VHS, by design and purposely so as to retaliate

      against Plaintiffs by intentionally, maliciously and with reckless disregard

      for the truth of information, they acted upon removing and terminating

      Plaintiffs.

   171.      As a direct and proximate cause of Defendants' conduct, Plaintiffs

      have suffered damages including, loss of career opportunities and

      emotional distress, including, but not limited to, embarrassment,

      humiliation and outrage.

      Plaintiffs demand judgment against all of the Defendants jointly and

severally, for actual, general, special, compensatory damages and further demands

judgment against each of said Defendants, jointly and severally, plus the costs of

this action, including attorney's fees, and such other relief deemed to be just and

equitable.

   172.      For all the foregoing reasons, Plaintiffs demand judgment against

      Defendants jointly and severally as follows:

      A.     LEGAL RELIEF
             1. Economic, noneconomic and compensatory damages in
                whatever amount they are found to be entitled;



                                         57
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.58 Filed 06/30/22 Page 58 of 89




          2.    Exemplary damages in whatever amount they are found to be
                entitled;

          3.    Punitive damages in whatever amount they are found to be
                entitled;

          4.    Statutory damages, and common law damages;

          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.

    B.    EQUITABLE RELIEF

          1.    An order from this Court placing Plaintiffs in the position they
                would have been in had there been no wrongdoing by
                Defendants, including reinstatement with back pay;


                                     58
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.59 Filed 06/30/22 Page 59 of 89




          2.     An injunction out of this Court prohibiting any further acts of
                 wrongdoing by Defendants;

          3.     An Order requiring Defendants to immediately produce
                 Plaintiffs’ personnel records;

          4.     An award of interest, costs and reasonable attorney fees; and

          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                     COUNT II
VIOLATION OF THE RETALIATION PROVISION OF THE FALSE
           CLAIMS ACT, 31 U.S.C. § 3729, 3730

 173.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 174.     The retaliation provision of the False Claims Act ("FCA") protects

    any employee, contractor or agent from being "discharged, demoted,

    suspended, threatened, harassed, or in any other manner discriminated

    against in the terms and conditions of employment because of lawful acts

    done by the employee, contractor, agent or associated others in furtherance

    of an action under this section or other efforts to stop 1 or more violations

    of this subchapter." 31 U.S.C. § 3720(h)(l).

 175.     On numerous occasions, Plaintiffs engaged in lawful acts, as set forth

    in more detail above, in an effort to stop 1 or more violations of the FCA,

    including but not limited to, 31 U.S.C. §§ 3729(a)(l)(B), 3729(a)(l)(G),

                                      59
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.60 Filed 06/30/22 Page 60 of 89




    3729(a)(l)(A) and 3729(a)(l)(C), by the Defendants.

 176.     The Government, unaware of the falsity of the records, statements

    and claims made or caused to be made by Defendants, paid and continues

    to pay the claims that would not be paid but for the Defendants' illegal

    conduct.

 177.     Defendants are contractors and subcontractors who benefit from

    Medicare payments.

 178.     Defendant Tenet and its subsidiaries have tried to play ignorant

    about how the extreme cost-cutting measures have created unsafe

    environments at the DMC hospitals.

 179.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely so as to falsely

    and knowingly provided deficient and inadequate services by allowing

    outrageous unclean and unsanitary operating rooms, patient rooms to

    fester in blood pathogens, urine, broken equipment, and unsafe and other

    noncompliant conditions.

 180.     Defendants     worked      together    to    withhold      necessary

    supplies/equipment to sanitize the hospital because of their greed.


                                     60
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.61 Filed 06/30/22 Page 61 of 89




   181.      Defendants have violated and fail to meet the requirements outlined

      by CMS for Certification of Participation.

   182.      Defendants have known about the complaints of lack of supplies and

      unsanitary conditions and they falsely represent otherwise to CMS and

      government payors.

   183.      As a direct and proximate cause of Defendants' conduct of

      improperly retaliating against, investigating and terminating Plaintiffs,

      they have suffered damages including, but not limited to, loss of their jobs

      and income, loss of career opportunities, emotional distress, including but

      not limited to, embarrassment, humiliation and outrage.

      Plaintiffs demand judgment against all of the Defendants jointly and

severally, for actual, general, special, compensatory damages and further demands

judgment against each of said Defendants, jointly and severally, plus the costs of

this action, including attorney's fees, and such other relief deemed to be just and

equitable.

   184.      For all the foregoing reasons, Plaintiffs demand judgment against

      Defendants jointly and severally as follows:

      A.     LEGAL RELIEF
             1. Economic, noneconomic and compensatory damages in
                whatever amount they are found to be entitled;


                                         61
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.62 Filed 06/30/22 Page 62 of 89




          2.    Exemplary damages in whatever amount they are found to be
                entitled;

          3.    Punitive damages in whatever amount they are found to be
                entitled;

          4.    Statutory damages, and common law damages;

          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.

    B.    EQUITABLE RELIEF

          1.    An order from this Court placing Plaintiffs in the position they
                would have been in had there been no wrongdoing by
                Defendants, including reinstatement with back pay;


                                     62
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.63 Filed 06/30/22 Page 63 of 89




          2.     An injunction out of this Court prohibiting any further acts of
                 wrongdoing by Defendants;

          3.     An Order requiring Defendants to immediately produce
                 Plaintiffs’ personnel records;

          4.     An award of interest, costs and reasonable attorney fees; and

          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                     COUNT III
VIOLATION OF THE BULLARD-PLAWECKI EMPLOYEE RIGHT
          TO KNOW ACT, MCL § 423.501, et. seq.

 185.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 186.     At all times material hereto, Plaintiffs were employees and

    Defendants Crothall/Compass was an employer covered by and within the

    meaning of the Bullard-Plawecki Employee Right to Know Act, MCL §

    423.501, et. seq.

 187.     The primary purpose of the Bullard-Plawecki Employee Right to

    Know Act ("the Act") is to establish an employee's right to examine his

    personnel records, i.e. "the documents that are being kept by the employer

    concerning that employee."




                                      63
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.64 Filed 06/30/22 Page 64 of 89




 188.     Per the Act, "Employer" means an individual, corporation,

    partnership, labor organization, unincorporated association, the state, or

    an agency or a political subdivision of the state, or any other legal,

    business, or commercial entity which has 4 or more employees and

    includes an agent of the employer. MCL § 423.501(2)(b).

 189.     Per the Act, "Personnel record" means a record kept by the employer

    that identifies the employee to the extent that the record is used or has been

    used, or may affect or be used relative to that employee's qualifications for

    employment,      promotion,     transfer,   additional    compensation,     or

    disciplinary action. MCL § 423.501(2)(c).

 190.     Plaintiffs repeatedly requested, but were denied by Defendants,

    access to a complete copy of their employment records.

 191.     To date, Defendants and its employees continue to willfully fail

    and/or refuse to comply with the Act and Plaintiffs’ demands for a

    complete copy of their personnel record(s), including the "internal report."

 192.     Specifically, Defendants, while refusing to provide Plaintiffs with a

    copy of the "internal report" or their personnel record(s), have casted

    Plaintiffs in a negative light through its statements - those made publicly

    and the union - regarding the cause for Plaintiffs’ termination, including that


                                       64
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.65 Filed 06/30/22 Page 65 of 89




      Defendants relied on an "internal report" for said termination.

   193.      Defendants’ intentional noncompliance with the Act threatens grave

      and irreparable harm to Plaintiffs' reputation, future employment

      opportunities and their legal rights.

      Plaintiffs demand judgment against all of the Defendants jointly and

severally, for actual, general, special, compensatory damages and further demands

judgment against each of said Defendants, jointly and severally, plus the costs of

this action, including attorney's fees, and such other relief deemed to be just and

equitable.

   194.      For all the foregoing reasons, Plaintiffs demand judgment against

      Defendants jointly and severally as follows:

      A.     LEGAL RELIEF
             1. Economic, noneconomic and compensatory damages in
                whatever amount they are found to be entitled;

             2.    Exemplary damages in whatever amount they are found to be
                   entitled;

             3.    Punitive damages in whatever amount they are found to be
                   entitled;

             4.    Statutory damages, and common law damages;

             5.    Liquidated damages, treble damages, and double damages in
                   whatever amount they are found to be entitled; and

             6.    An award of interest, costs and reasonable attorney fees;


                                         65
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.66 Filed 06/30/22 Page 66 of 89




          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.

    B.    EQUITABLE RELIEF

          1.    An order from this Court placing Plaintiffs in the position they
                would have been in had there been no wrongdoing by
                Defendants, including reinstatement with back pay;

          2.    An injunction out of this Court prohibiting any further acts of
                wrongdoing by Defendants;

          3.    An Order requiring Defendants to immediately produce
                Plaintiffs’ personnel records;

          4.    An award of interest, costs and reasonable attorney fees; and

          5.    Whatever other equitable relief appears appropriate at the
                time of final judgment.




                                     66
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.67 Filed 06/30/22 Page 67 of 89




                          COUNT IV
        INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

 195.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 196.     Defendants’ conduct, as set forth above, was extreme and outrageous

    and went beyond the bounds of decency.

 197.     Defendants’ intentional/reckless conduct in failing to provide supplies

    for housekeepers to properly sanitize patient and operating rooms in order to

    help Defendants’ bottom line.

 198.     The lack of supplies to properly sanitize the hospital has been going on

    pre-pandemic, during the pandemic, and post-pandemic.

 199.     In order to help Tenet’s bottom line, Defendants Crothall/Compass

    intentionally and/or recklessly failed to initiate emergency protocols in

    response to the COVID-19 epidemic jeopardizing Plaintiffs’ health and

    safety, and the safety of employees and patients.

 200.     Defendants intentionally/and or recklessly made decisions that severely

    undermined staffing and protective measures at the hospital so that Plaintiffs

    and other employees could not adequately sanitize the hospital.

 201.     Defendants make significant profits and intentionally refused to spend

    adequate funds to buy supplies and equipment to keep the hospitals safe and


                                      67
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.68 Filed 06/30/22 Page 68 of 89




    sanitary as required by regulations, standards, and laws.

 202.     In engaging in the offensive conduct set forth herein, Defendants

    intended to cause emotional injury to Plaintiffs and/or recklessly disregarded

    the probability that these unnecessary dangerous conditions and unsafe

    circumstances would result in Plaintiffs’ severe emotional harm.

 203.     As a result of Defendants’ decisions, Plaintiffs suffered severe trauma

    during every shift as they helplessly watched patients who were very ill, or

    about to deliver babies, who were exposed to unsanitary conditions because

    Defendants refused to provide enough cleaning supplies and equipment to

    keep the hospital sanitary.

 204.     Defendants acted with reckless disregard for the extreme conditions it

    placed on Plaintiffs.

 205.     Defendants’ above-referenced conduct was extremely reckless and

    went beyond all possible bounds of decency.

 206.     Defendants belittled, humiliated, and falsely accused Plaintiffs of not

    doing their jobs in an attempt to discredit them because they would report

    safety concerns to Defendants.

 207.     The above-referenced conduct described did in fact cause Plaintiffs to

    suffer damages, including but not limited to severe emotional distress.




                                       68
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.69 Filed 06/30/22 Page 69 of 89




 208.     For all the foregoing reasons, Plaintiffs demand judgment against

    Defendants jointly and severally as follows:

    A.    LEGAL RELIEF
          1. Economic, noneconomic and compensatory damages in
             whatever amount they are found to be entitled;

          2.    Exemplary damages in whatever amount they are found to be
                entitled;

          3.    Punitive damages in whatever amount they are found to be
                entitled;

          4.    Statutory damages, and common law damages;

          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;




                                     69
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.70 Filed 06/30/22 Page 70 of 89




          13.    The damages available include compensation for psychological
                 injuries such as humiliation, embarrassment, outrage,
                 disappointment, and mental anguish that have resulted from the
                 discrimination.

    B.    EQUITABLE RELIEF

          1.     An order from this Court placing Plaintiffs in the position they
                 would have been in had there been no wrongdoing by
                 Defendants, including reinstatement with back pay;

          2.     An injunction out of this Court prohibiting any further acts of
                 wrongdoing by Defendants;

          3.     An Order requiring Defendants to immediately produce
                 Plaintiffs’ personnel records;

          4.     An award of interest, costs and reasonable attorney fees; and

          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                                 COUNT V
                                CONSPIRACY

 209.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 210.     At all material times, Defendant Tenet was the ultimate decision maker

    for purposes of conduct involving the Covid-19 pandemic, and cost cutting

    of essential supplies and equipment.

 211.     Defendant Tenet got rid of Sodexo and brought in Defendants

    Crothall/Compass to implement unreasonable cost cutting measures which


                                      70
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.71 Filed 06/30/22 Page 71 of 89




    created an unsafe hospital environment.

 212.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely so as to maintain

    understaffed and extremely dangerous conditions, such as Plaintiffs, who are

    frontliner workers and were overwhelmed by safety violations and lack of

    adequate supplies.

 213.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely so as to maintain

    understaffed and extremely dangerous conditions, such as Plaintiffs, who are

    frontliner workers and were unnecessary exposed to Covid-19 areas in the

    hospital, which were not properly marked per the rules. Plaintiffs, during

    critical times, were not provided with PPE to protect themselves.

 214.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely so as to maintain

    understaffed and extremely dangerous conditions, such as Plaintiffs, who are

    frontliner workers and were exposed to employees and managers who were

    instructed to come to work even though they had Covid-19 symptoms.


                                      71
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.72 Filed 06/30/22 Page 72 of 89




 215.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely so as to

    undermine Plaintiffs’ ethical duties and policy rules.

 216.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely so as to save

    money even if it meant compromising safety.

 217.     Defendants acted in concert with one another and with others,

    specifically but not limited to various corporate officers both at

    Crothall/Compass and Tenet/VHS, by design and purposely deceived

    inspectors from OSHA, JHACO, CMS, AND LARA.

 218.     Each of the acts committed by all the Defendants constituted aid and

    encouragement to all other Defendants herein in the commission of the

    wrongful acts described herein.

 219.     These tortious and wrongful acts of Defendants, along with others,

    constituted a conspiracy to cause injury to Plaintiffs, specifically but not

    limited to emotional injuries as state above.

 220.     The aforementioned conspiracy was committed pursuant to a common

    plan to commit the tortious and wrongful acts described herein.


                                       72
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.73 Filed 06/30/22 Page 73 of 89




 221.     The aforementioned conspiracy was also undertaken without any fault

    or wrongdoing by Plaintiffs herein.

 222.     As a direct and proximate result of Plaintiffs’ refusal to breach the

    public policy of the State of Michigan and reporting the breaches to

    Defendants’ upper management and as a result of Defendants’ retaliatory

    discharge of Plaintiffs, Plaintiffs have been placed in financial distress; have

    suffered loss of wages and benefits, loss of earning capacity, and loss of ability

    to work; and will continue to suffer these losses in the future.

 223.     For all the foregoing reasons, Plaintiffs demand judgment against

    Defendants jointly and severally as follows:

    A.    LEGAL RELIEF
          1. Economic, noneconomic and compensatory damages in
             whatever amount they are found to be entitled;

          2.     Exemplary damages in whatever amount they are found to be
                 entitled;

          3.     Punitive damages in whatever amount they are found to be
                 entitled;

          4.     Statutory damages, and common law damages;

          5.     Liquidated damages, treble damages, and double damages in
                 whatever amount they are found to be entitled; and

          6.     An award of interest, costs and reasonable attorney fees;

          7.     Plaintiff is entitled to compensatory, exemplary, punitive, and
                 treble damages;

                                        73
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.74 Filed 06/30/22 Page 74 of 89




          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.

    B.    EQUITABLE RELIEF

          1.    An order from this Court placing Plaintiffs in the position they
                would have been in had there been no wrongdoing by
                Defendants, including reinstatement with back pay;

          2.    An injunction out of this Court prohibiting any further acts of
                wrongdoing by Defendants;

          3.    An Order requiring Defendants to immediately produce
                Plaintiffs’ personnel records;

          4.    An award of interest, costs and reasonable attorney fees; and

          5.    Whatever other equitable relief appears appropriate at the
                time of final judgment.




                                     74
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.75 Filed 06/30/22 Page 75 of 89




                         COUNT VI
  MICHIGAN PUBLIC POLICY WRONGFUL DISCHARGE CLAIM
                 (as to Defendants Crothall & Compass)

 224.       Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 225.     Pursuant to Michigan law pertaining to public policy exceptions to

    an employee’s at-will employment status, or other status, an employer

    cannot discharge and/or take adverse employment action(s) against an

    employee for the following reasons:

              i. Where explicit legislative statements prohibit the discharge,

                 or other adverse treatment of employees; and/or

             ii. Where the reason for the discharge was the employee’s

                 exercise of a right conferred by well-established legislative

                 enactment.

 226.     At all times material and relevant, Plaintiffs were employees and

    Defendants Crothall and Compass were employers.

 227.     The     Joint   Commission      on   Accreditation   of   Healthcare

    Organizations (JCAHO) maintains non-retaliation provisions, which

    prohibit adverse employment decisions based on an employee's good faith

    reporting of a concern about compliance with policy or legal requirements,


                                     75
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.76 Filed 06/30/22 Page 76 of 89




    including but not limited to employee and patient safety and staffing.

 228.     Michigan OSHA’s        general duty clause requires employers to

    provide employees with “employment and a place of employment that is

    free from recognized hazards that are causing, or are likely to cause, death

    or serious physical harm to employees.” OSHA prohibits retaliation

    against employees who report safety hazards.

 229.     MCL 333.20176a prohibits an employer from retaliating against an

    employee who reports malpractice and/or patient neglect or unsafe patient

    conditions.

 230.     Plaintiffs engaged in internal and external complaints, which

    encompassed patient and employee wellbeing and safety, as well as

    Defendants’ patent neglect to patients and employees at Harper Hutzel

    Hospital.

 231.     Defendants, through their agents, servants, or employees, violated the

    public policy of the State of Michigan as outlined above.

 232.     Plaintiffs refused to violate these policies and reported the actions of

    certain agents, servants, or employees of Defendants to Defendants’ upper

    management.




                                      76
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.77 Filed 06/30/22 Page 77 of 89




 233.     Defendants Crothall and Compass discharged Plaintiffs in whole or in

    part for refusing or failing to violate the public policy of the State of Michigan,

    outlined above, and for reporting the actions of the agents, servants, or

    employees of Defendants to Defendants’ upper management at Crothall and

    Compass, including Defendant Tenet.

 234.     As a direct and proximate result of Plaintiffs’ refusal to breach the

    public policy of the State of Michigan and reporting the breaches to

    Defendants’ upper management and as a result of Defendants’ retaliatory

    discharge of Plaintiffs, Plaintiffs have been placed in financial distress; have

    suffered loss of wages and benefits, loss of earning capacity, and loss of ability

    to work; and will continue to suffer these losses in the future.

 235.     For all the foregoing reasons, Plaintiffs demand judgment against

    Defendants jointly and severally as follows:

    A.    LEGAL RELIEF
          1. Economic, noneconomic and compensatory damages in
             whatever amount they are found to be entitled;

          2.     Exemplary damages in whatever amount they are found to be
                 entitled;

          3.     Punitive damages in whatever amount they are found to be
                 entitled;

          4.     Statutory damages, and common law damages;


                                         77
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.78 Filed 06/30/22 Page 78 of 89




          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.

    B.    EQUITABLE RELIEF

          1.    An order from this Court placing Plaintiffs in the position they
                would have been in had there been no wrongdoing by
                Defendants, including reinstatement with back pay;

          2.    An injunction out of this Court prohibiting any further acts of
                wrongdoing by Defendants;

          3.    An Order requiring Defendants to immediately produce
                Plaintiffs’ personnel records;

          4.    An award of interest, costs and reasonable attorney fees; and

                                     78
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.79 Filed 06/30/22 Page 79 of 89




          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                                 COUNT VII
                            WHISTLEBLOWER
                    (as to Defendants Crothall & Compass)

 236.       Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 237.     At all material times, Plaintiffs were employees, and Defendants

    Crothall and Compass were their employers, covered by and within the

    meaning of the Whistleblowers’ Protection Act, MCL 15.361 et seq.

 238.     Pursuant to Michigan Administrative Code Rule 325.3825 (1), “ [a]

    facility shall be planned, staffed, equipped, and operated with the individual

    patient’s welfare and safety to be of paramount concern.”

 239.     Furthermore, there are various other state and federal regulations

    enforced by LARA, CMS, OSHA, Medicare, and Medicaid, intended to

    assure safe and healthy working conditions for workers, visitors, and patients.

 240.     Likewise, pursuant to the Michigan Patient Bill of Rights, which has

    been statutorily enumerated, a “patient or resident is entitled to receive

    adequate and appropriate care.” MCL 333.20201 (1)(e).

 241.     Defendants violated the Whistleblowers’ Protection Act when they

    discriminated against Plaintiffs as described regarding the terms, benefits,

                                       79
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.80 Filed 06/30/22 Page 80 of 89




    conditions, and privileges of their employment because Plaintiffs reported a

    violation or suspected violation of a law, regulation, or rule of the State of

    Michigan and opposed practices made illegal by the laws, regulations, or rules

    of the State of Michigan.

 242.     The actions of Defendants were intentional.

 243.     As a direct and proximate result of Defendants’ unlawful actions

    against Plaintiffs as described, Plaintiffs have sustained injuries and damages,

    including, but not limited to, loss of earnings; loss of career opportunities;

    mental and emotional distress; loss of reputation and esteem in the

    community; and loss of the ordinary pleasures of everyday life, including the

    opportunity to pursue gainful occupation of choice.

 244.     For all the foregoing reasons, Plaintiffs demand judgment against

    Defendants jointly and severally as follows:

    A.    LEGAL RELIEF
          1. Economic, noneconomic and compensatory damages in
             whatever amount they are found to be entitled;

          2.     Exemplary damages in whatever amount they are found to be
                 entitled;

          3.     Punitive damages in whatever amount they are found to be
                 entitled;

          4.     Statutory damages, and common law damages;


                                       80
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.81 Filed 06/30/22 Page 81 of 89




          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.

    B.    EQUITABLE RELIEF

          1.    An order from this Court placing Plaintiffs in the position they
                would have been in had there been no wrongdoing by
                Defendants, including reinstatement with back pay;

          2.    An injunction out of this Court prohibiting any further acts of
                wrongdoing by Defendants;

          3.    An Order requiring Defendants to immediately produce
                Plaintiffs’ personnel records;

          4.    An award of interest, costs and reasonable attorney fees; and

                                     81
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.82 Filed 06/30/22 Page 82 of 89




          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                       COUNT VIII
   VIOLATION OF THE ELLIOTT-LARSEN CIVIL RIGHTS ACT
              (ELCRA), MCL 37.2101, ET. SEQ.

 245.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein.

 246.     The Elliott-Larsen Civil Rights Act (ELCRA), MCL 37.2101 et. seq.,

    prohibits discrimination in employment, public accommodations, educational

    institutions, and housing on the basis of race, sex, age, religion, national

    origin, height, weight, or marital status.

 247.     Plaintiff were engaged in a protected activity – notifying Defendants

    of the unsanitary conditions at the hospital, complaints to OSHA, etc.

 248.     Plaintiffs’ complaints and concerns were known to Defendants.

 249.     Defendant Crothall/Compass fired Plaintiffs as a result of their

    complaints as to the unsanitary and unsafe conditions at Harper Hospital.

 250.     Defendants’ (Crothall/Compass) management made it clear to

    Plaintiffs that they are housekeepers and not worthy of having a voice and

    that they are lucky to have jobs instead of being on Medicaid.

 251.     Plaintiffs are African American and females who have been subject to

    retaliation and discrimination because Defendants believed they could get


                                        82
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.83 Filed 06/30/22 Page 83 of 89




    away with such retaliation and discrimination.

 252.     Plaintiffs were unfairly disciplined.

 253.     Defendants Crothall/Compass violate their own policies of anti-

    discrimination and take advantage of Plaintiffs because they are African

    American and females.

 254.     Defendants Crothall/Compass refused to train Plaintiffs and other

    employees because of their discriminatory belief that Plaintiffs, among

    others, are stupid and routinely talked down to Plaintiffs and one factor is

    because of their gender and race.

 255.     Defendants Crothall/Compass discriminated against Plaintiffs and

    refused to provide proper PPE because they treated Plaintiffs as less human

    than their managers because of their gender and race.

 256.     Defendants Crothall/Compass retaliated and discriminated against

    Plaintiffs because they spoke up about how Defendants Crothall/Compass

    mistreated and terminated a disabled employee who was disabled due to

    getting Covid-19 at work.

 257.     Plaintiffs suffered damages as a result of Defendants’ violations of their

    rights under ELCRA.

 258.     For all the foregoing reasons, Plaintiffs demand judgment against

    Defendants jointly and severally as follows:

                                        83
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.84 Filed 06/30/22 Page 84 of 89




    A.    LEGAL RELIEF
          1. Economic, noneconomic and compensatory damages in
             whatever amount they are found to be entitled;

          2.    Exemplary damages in whatever amount they are found to be
                entitled;

          3.    Punitive damages in whatever amount they are found to be
                entitled;

          4.    Statutory damages, and common law damages;

          5.    Liquidated damages, treble damages, and double damages in
                whatever amount they are found to be entitled; and

          6.    An award of interest, costs and reasonable attorney fees;

          7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                treble damages;

          8.    Compensatory damages in whatever amount Plaintiffs are found
                to be entitled to.

          9.    Judgment for lost wages, past and future, in whatever amount
                Plaintiffs are found to be entitled to;

          10.   An award for the value of lost fringe and pension benefits, past
                and future;

          11.   Mental Distress Damages;

          12.   Emotional Distress Damages;

          13.   The damages available include compensation for psychological
                injuries such as humiliation, embarrassment, outrage,
                disappointment, and mental anguish that have resulted from the
                discrimination.




                                     84
Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.85 Filed 06/30/22 Page 85 of 89




    B.    EQUITABLE RELIEF

          1.     An order from this Court placing Plaintiffs in the position they
                 would have been in had there been no wrongdoing by
                 Defendants, including reinstatement with back pay;

          2.     An injunction out of this Court prohibiting any further acts of
                 wrongdoing by Defendants;

          3.     An Order requiring Defendants to immediately produce
                 Plaintiffs’ personnel records;

          4.     An award of interest, costs and reasonable attorney fees; and

          5.     Whatever other equitable relief appears appropriate at the
                 time of final judgment.

                              RELIEF REQUESTED

 259.     Plaintiffs repeat and re-allege each and every preceding paragraph

    as if fully set forth herein. As a direct and proximate result of Defendants’

    violations as stated above, Plaintiffs have suffered depression, emotional and

    physical distress, mental and physical anguish, humiliation, loss of reputation

    and embarrassment, and the physical manifestations of these injuries and will

    continue to suffer these problems in the future.

 260.     Plaintiffs demand judgment against all of the Defendants jointly and

    severally, for actual, general, special, compensatory damages and further

    demands judgment against each of said Defendants, jointly and severally.




                                       85
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.86 Filed 06/30/22 Page 86 of 89




   For all the foregoing reasons, Plaintiffs demand judgment against Defendants

as follows:

      A.      LEGAL RELIEF
              1. Economic, noneconomic and compensatory damages in
                 whatever amount they are found to be entitled;

              2.    Exemplary damages in whatever amount they are found to be
                    entitled;

              3.    Punitive damages in whatever amount they are found to be
                    entitled;

              4.    Statutory damages, and common law damages;

              5.    Liquidated damages, treble damages, and double damages in
                    whatever amount they are found to be entitled; and
              6.    An award of interest, costs and reasonable attorney fees;

              7.    Plaintiff is entitled to compensatory, exemplary, punitive, and
                    treble damages;

              8.    Compensatory damages in whatever amount Plaintiffs are found
                    to be entitled to.

              9.    Judgment for lost wages, past and future, in whatever amount
                    Plaintiffs are found to be entitled to;

              10.   An award for the value of lost fringe and pension benefits, past
                    and future;

              11.   Mental Distress Damages;

              12.   Emotional Distress Damages;

              13.   The damages available include compensation for psychological
                    injuries such as humiliation, embarrassment, outrage,
                    disappointment, and mental anguish that have resulted from the

                                         86
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.87 Filed 06/30/22 Page 87 of 89




                 discrimination.

     B.    EQUITABLE RELIEF

           1.    An order from this Court placing Plaintiffs in the position they
                 would have been in had there been no wrongdoing by
                 Defendants, including reinstatement with back pay;

           2.    An injunction out of this Court prohibiting any further acts of
                 wrongdoing by Defendants;

           3.    An Order requiring Defendants to immediately produce
                 Plaintiffs’ personnel records;

           4.    An award of interest, costs and reasonable attorney fees; and

           5.    Whatever other equitable relief appears appropriate at the
                 time of final judgment.

Dated: June 30, 2022                       Respectfully submitted,

                                           /s/ Azzam Elder
                                           Azzam Elder (P53661)
                                           Elder Brinkman Law
                                           Counsel for Plaintiffs
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                                           /s/ Nina Korkis Taweel
                                           Nina Korkis Taweel (P63031)
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                                      87
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.88 Filed 06/30/22 Page 88 of 89




                               JURY DEMAND

      Plaintiffs, by and through their attorneys, demand a trial by jury of all the

issues in this cause.

Dated: June 30, 2022                         Respectfully submitted,

                                             /s/ Azzam Elder
                                             Azzam Elder (P53661)
                                             Elder Brinkman Law
                                             Counsel for Plaintiffs
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                                             /s/ Nina Korkis Taweel
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                                        88
 Case 2:22-cv-11491-DML-CI ECF No. 1, PageID.89 Filed 06/30/22 Page 89 of 89




                        CERTIFICATE OF SERVICE

       I hereby certify that on June 30, 2022, I electronically filed the foregoing

Plaintiffs' Complaint and Jury Demand with the Clerk of the Court using the

ECF.

                                                   /s/ Nina Korkis Taweel
                                                   Nina Korkis Taweel (P63031)
                                                   Co-Counsel for Plaintiffs




                                        89
